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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARIA CUELLAR, LAURA MCBRIDE,                     §      CIVIL ACTION NO. 4:19-cv-00922
SAIRA SIDDIQUI and EMMA                           §
STEWART, on behalf of themselves                  §
and others similarly situated,                    §      CLASS ACTION COMPLAINT
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §      Jury Trial Demanded
                                                  §
ALLIED INTERSTATE, LLC,                           §
                                                  §
       Defendant.                                 §

                    JOINT STIPULATION OF DISMISSAL
         WITH PREJUDICE AS TO PLAINTIFFS’ INDIVIDUAL CLAIMS AND
                 WITHOUT PREJDUICE AS TO CLASS CLAIMS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties that, pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A), the above-captioned action is voluntarily dismissed

with prejudice as to Plaintiffs Maria Cuellar, Laura McBride, Saira Siddiqui, and Emma Stewart’s

(“Plaintiffs”) individual claims and without prejudice as to the class claims. Each party is to bear

its own costs and attorneys’ fees.

Dated: November 4, 2019
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                               CERTIFICATE OF SERVICE

       I certify that on November 4, 2019, the foregoing document was filed with the Court using

CM/ECF, which will send notification of such to all counsel of record.


                                            /s/ Aaron D. Radbil
                                            Aaron D. Radbil
